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                                       EXHIBIT 2


                                        Redline Order




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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

                                        )
In re:                                  )                         Chapter 11
                                        )
CENTER CITY HEALTHCARE, LLC d/b/a       )                         Case No. 19-11466 (MFW)
HAHNEMANN UNIVERSITY HOSPITAL, et al., )
                                      1

                                        )
                    Debtors.            )                         Jointly Administered
                                        )
                                        )                         Related to Docket Nos. 2205, 2207 and _____


     ORDER SUSTAINING DEBTORS’ SIXTH OMNIBUS OBJECTION TO CLAIMS
  (SUBSTANTIVE) PURSUANT TO SECTIONS 502(b) AND 503 OF THE BANKRUPTCY
     CODE, BANKRUPTCY RULES 3001, 3003, AND 3007, AND LOCAL RULE 3007-1

         Upon consideration of the Debtors’ Sixth Omnibus Objection to Claims (Substantive)

  Pursuant to Sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and

  3007, and Local Rule 3007-1 (the “Objection”),2 by which the Debtors request the entry of an

  order pursuant to sections 502(b) and 503 of the Bankruptcy Code, Bankruptcy Rules 3001, 3003,

  and 3007, and Local Rule 3007-1, disallowing the No Liability Claims set forth on Exhibit A

  attached hereto and modifying the Misclassified Claims, the Modified Amount and Classification

  Claims and the Modified Amount Claims set forth on Exhibits B, C and D attached hereto; and

  upon consideration of the Wilen Declaration; and it appearing that the Court has jurisdiction over

  this matter pursuant to 28 U.S.C. §§ 157 and 1334; and due and adequate notice of the Objection

  having been given under the circumstances; and sufficient cause appearing therefor,


  1      The Debtors in these cases, along with the last four digits of each Debtor’s federal tax identification number,
         are: Center City Healthcare, LLC (3341), Philadelphia Academic Health System, LLC (8681), St.
         Christopher’s Healthcare, LLC (8395), Philadelphia Academic Medical Associates, LLC (8165), HPS of PA,
         L.L.C. (1617), SCHC Pediatric Associates, L.L.C. (0527), St. Christopher’s Pediatric Urgent Care Center,
         L.L.C. (6447), SCHC Pediatric Anesthesia Associates, L.L.C. (2326), StChris Care at Northeast Pediatrics,
         L.L.C. (4056), TPS of PA, L.L.C. (4862), TPS II of PA, L.L.C. (5534), TPS III of PA, L.L.C. (5536), TPS
         IV of PA, L.L.C. (5537), and TPS V of PA, L.L.C. (5540). The Debtors’ mailing address is 216 North Broad
         Street, 4th Floor, Philadelphia, Pennsylvania 19102.
  2      Capitalized terms used but not defined herein shall have the meanings ascribed to them in the Objection.
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             IT IS HEREBY ORDERED THAT:

             1.              The Objection is sustained as set forth herein.

             2.              The No Liability Claims set forth on the attached Exhibit A under the heading

“Claim No.” are hereby disallowed in their entirety.

             3.              The Misclassified Claims are modified to reflect the correct priority status of the

claims (or portions of the claims) as reflected under the heading “Modified Priority Status” on the

attached Exhibit B.

             4.              The Modified Amount and Classification Claims are modified to reflect the correct

priority status of the claims (or portions of the claims) and the correct amount as reflected under

the heading “Modified Claim Amount ($) and Priority Status” on the attached Exhibit C.

             5.              The Modified Amount Claims are modified to reflect the correct amount as

reflected under the heading “Modified Claim Amount ($)” on the attached Exhibit D.

             6.              The Claims Agent is authorized and directed to modify the Claims Register for

these Chapter 11 Cases in accordance with the terms of this Order.

             7.              To the extent that a response is filed regarding any Disputed Claim listed in the

Objection and the Debtors are unable to resolve the response, each such Disputed Claim, and the

Objection by the Debtors to each such Disputed Claim, shall constitute a separate contested matter

as contemplated by Bankruptcy Rule 9014.

             8.              Any order entered by the Court regarding the Objection shall be deemed a separate

order with respect to each Disputed Claim.

             9.              This Order is without prejudice to the rights of the Debtors and any successor

entities to: (a) object to any Claims on grounds other than as stated in the Objection if any such




                                                               2
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Claim is reconsidered; and (b) object, on any grounds permitted by law or equity, to any claim,

whether filed or not, in these cases.

             10.             The rights of the Debtors and any successor entities to use any available defenses

under section 502 of the Bankruptcy Code, including the assertion of a preference action to set off

against or otherwise reduce all or part of any Claim, are preserved.

             11.             Any stay of this Order pending appeal by any claimant shall only apply to the

contested matter that involves the claimant’s specific claim and shall not stay the applicability

and/or finality of this Order with respect to all other affected claims.

             12.             To the extent that the Objection does not comply in all respects with the

requirements of Local Rule 3007-1, the requirements of Local Rule 3007-1 are waived.

             13.             The Court shall retain jurisdiction over all affected parties with respect to any

matters, claims or rights arising from or related to the implementation and interpretation of

this Order.




                                                             3
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                        Exhibit A



                    No Liability Claims
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                                                                       No Liability Claims
                                  Debtor                                     Filed Claim Amount ($)
                                  Against
                        Claim
    Creditor Name                 Whom
                         No.                     Priority   Secured     503(b)(9)       Admin.        Unsecured         Total            Reason for Disallowance
                                  Claim is
                                   Filed
                                                                                                                                  Claimant’s claim was satisfied upon the
                                                                                                                                  assumption and assignment of the
                                                                                                                                  parties’ contract to STC OpCo, LLC in
                                Center City
      Biocompatibles,                                                                                                             connection with the sale of substantially
1                        639    Healthcare,        $-         $-           $-              $-         $165,000.00   $165,000.00
           Inc.                                                                                                                   all assets of St. Christopher’s
                                   LLC
                                                                                                                                  Healthcare, LLC and certain of its
                                                                                                                                  affiliates, as reflected in Docket No.
                                                                                                                                  1219.
                                Philadelphia                                                                                      Claim was paid in connection with
         Global
                                 Academic                                                                                         critical trade agreement by wire
2       Healthcare       50                        $-         $-           $-              $-         $56,823.42    $56,823.42
                                   Health                                                                                         payment made on 1/15/2020
      Exchange, LLC
                                System, LLC                                                                                       (Transaction No. TRN#200115202483).
3      REDACTED          569    Center City        $-         $-           $-              $-         $500,000.00   $500,000.00   Documentation attached to claim shows
                                Healthcare,                                                                                       that cause of action arose in 2016, prior
                                   LLC                                                                                            to the Debtors' existence and prior to the
                                                                                                                                  Debtors' acquisition of the Hospitals
                                                                                                                                  from Tenet Business Services
                                                                                                                                  Corporation in January 2018.
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                         Exhibit B



                    Misclassified Claims
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                                                                                             Misclassified Claims
                                                                    Filed Claim Amount ($) and Priority Status                                      Modified Priority Status
                                      Debtor against
         Creditor                                                                                                                                                                                   Reason for
                          Claim No.   Whom Claim
          Name                                          Priority      Secured       503(b)(9)    Unsecured          Total      Priority   Secured     503(b)(9)    Unsecured        Total           Modification
                                         is Filed

                                                                                                                                                                                                Claim documents and
                                                                                                                                                                                                Debtors’ books and
                                            St.
                                                                                                                                                                                                records reflect
         Benco Dental                  Christopher's
    1                        87                        $12,138.15        $-         $12,138.15   $78,315.53      $102,591.83     $-         $-        $12,138.15    $90,453.68   $102,591.83    support only for
          Supply Co.                    Healthcare,
                                                                                                                                                                                                503(b)(9) status and
                                           LLC
                                                                                                                                                                                                not any other priority
                                                                                                                                                                                                status.
                                       Philadelphia                                                                                                                                             Claim documents and
                                        Academic                                                                                                                                                Debtors’ books and
        CooperSurgical,
    2                        3        Health System,       $-       Not specified       $-       $5,706.52        $5,706.52       $-        $-            $-        $5,706.52     $5,706.52     records do not reflect
             Inc.
                                                                                                                                                                                                support for a secured
                                          LLC1                                                                                                                                                  claim.
                                       Philadelphia                                                                                                                                             Claim documents and
                                        Academic                                                                                                                                                Debtors’ books and
        CooperSurgical,
    3                        4        Health System,       $-       Not specified       $-       $3,933.58        $3,933.58       $-        $-            $-        $3,933.58     $3,933.58     records do not reflect
             Inc.
                                                                                                                                                                                                support for a secured
                                          LLC2                                                                                                                                                  claim.
                                                                                                                                                                                                Claim documents and
                                           St.
                                                                                                                                                                                                Debtors’ books and
        CooperSurgical,               Christopher’s
    4                        12                            $-       Not specified       $-       $3,258.49        $3,258.49       $-        $-            $-        $3,258.49     $3,258.49     records do not reflect
             Inc.                      Healthcare,
                                                                                                                                                                                                support for a secured
                                          LLC
                                                                                                                                                                                                claim.
                                                                                                                                                                                                Modified claim
                                                                                                                                                                                                reflects agreed
                                       Center City
         GE Precision                                                                                                                                                                           resolution with
    5                        90        Healthcare,         $-            $-             $-       $200,312.37     $200,312.37     $-         $-        $3,830.40    $196,481.97   $ 200,312.37
        Healthcare LLC                                                                                                                                                                          claimant as to
                                          LLC
                                                                                                                                                                                                appropriate priority
                                                                                                                                                                                                status of claim.




1   This claim has been reassigned to Center City Healthcare, LLC, pursuant to Order Sustaining Debtors’ Third Omnibus Objection to Claims (Non-Substantive) Pursuant to Section 502(B)
      of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [D.I. 2137].
2   This claim has been reassigned to Center City Healthcare, LLC, pursuant to Order Sustaining Debtors’ Third Omnibus Objection to Claims (Non-Substantive) Pursuant to Section 502(B)
      of the Bankruptcy Code, Bankruptcy Rules 3001, 3003, and 3007, and Local Rule 3007-1 [D.I. 2137].
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                         Exhibit C



          Modified Amount and Classification Claims
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                                                                 Modified Amount and Classification Claims
                              Debtor                   Filed Claim Amount ($) and Priority Status                Modified Claim Amount ($) and Priority Status
                    Claim     against
Creditor Name                                Priorit    Secure                                               Priorit    Secure                                        Reason for
                     No.    Whom Claim                              Admin.       Unsecured          Total                        Admin.   Unsecured       Total
                              is Filed         y          d                                                    y          d                                           Modification

                                                                                                                                                                     The
                                                                                                                                                                     administrative
                                                                                                                                                                     expense portion
                                                                                                                                                                     of this claim, in
                                                                                                                                                                     the amount of
                                                                                                                                                                     $14,669.05,
                                                                                                                                                                     was already
                                 St.
      Temple                                                                                                                                                         allowed
                            Christopher’s
1    University      163                       $-         $-       $14,669.05    $23,537.34    $38,206.39      $-         $-       $-     $23,537.34    $23,537.34   pursuant to
                             Healthcare,
    Hospital, Inc                                                                                                                                                    Court order
                                LLC
                                                                                                                                                                     [D.I. 1793], and
                                                                                                                                                                     such amount
                                                                                                                                                                     was paid on
                                                                                                                                                                     9/30/2020 by
                                                                                                                                                                     wire
                                                                                                                                                                     0930I1B7031R
                                                                                                                                                                     025045.
                                                                                                                                                                     Claimant's post-
                                                                                                                                                                     petition
                                                                                                                                                                     administrative
                                                                                                                                                                     claims were
                                                                                                                                                                     resolved and
                                                                                                                                                                     allowed
                                                                                                                                                                     pursuant to a
                               SCHC
      Temple                                                                                                                                                         Court order
                              Pediatric                                          $829,716.5   $1,336,522.7                                $829,716.5    $829,716.5
2    University      19                        $-         $-       $506,806.12                                 $-         $-       $-                                entered on
                             Associates,                                             8             0                                          8             8
    Hospital, Inc                                                                                                                                                    9/28/2020 [D.I.
                               L.L.C.
                                                                                                                                                                     1793] and such
                                                                                                                                                                     agreed amounts
                                                                                                                                                                     were paid on
                                                                                                                                                                     9/30/2020 by
                                                                                                                                                                     wire
                                                                                                                                                                     0930I1B7031R
                                                                                                                                                                     025045.
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                          Exhibit D



                    Modified Amount Claims
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                                                                          Modified Amount Claims
                           Debtor                          Filed Claim Amount ($)                                                  Modified Claim Amount ($)
    Creditor     Claim     against
     Name         No.    Whom Claim                            Section                                                      Section                                    Reason for
                                         Priority   Secured               Unsecured      Total        Priority   Secured                 Unsecured      Total
                           is Filed                           503(b)(9)                                                    503(b)(9)                                   Modification

                                                                                                                                                                   The claim is reduced,
                              St.
     GP Energy                                                                                                                                                     with the agreement of
                         Christopher's
1     Products     1                        $-        $-         $-       $69,057.75   $69,057.75        $-        $-         $-         $57,433.14   $57,433.14   the claimant, to
                          Healthcare
        LLC                                                                                                                                                        remove disputed
                             LLC
                                                                                                                                                                   financing charges.
                                                                                                                                                                   Asserted claim
                                                                                                                                                                   amount is based on a
                                                                                                                                                                   pro-rata calculation
                                                                                                                                                                   (1/1/19 - 6/30/19 =
                         Center City
                                                                                                                                                                   $39,444.92).
2    Spok, Inc    218    Healthcare,        $-        $-         $-       $39,444.92   $39,444.92        $-        $-         $-         $30,964.79   $30,964.79
                                                                                                                                                                   Modification reflects
                            LLC
                                                                                                                                                                   corrected pro-rata
                                                                                                                                                                   figure (1/1/19 -
                                                                                                                                                                   6/30/19 =
                                                                                                                                                                   $30,964.79).
                                                                                                                                                                   Of the total asserted
                                                                                                                                                                   claim, $41,709.99
                                                                                                                                                                   relates to invoices
                                                                                                                                                                   directed to Sodexo
                                                                                                                                                                   Operations, LLC and
                         Center City
    USA-Clean,                                                                                                                                                     not to a Debtor entity.
3                 289    Healthcare,        $-        $-         $-       $42,610.00   $42,610.00        $-        $-         $-          $900.01      $900.01
       Inc.                                                                                                                                                        Only the remaining
                            LLC
                                                                                                                                                                   balance, in the
                                                                                                                                                                   amount of $900.01,
                                                                                                                                                                   relates to invoices
                                                                                                                                                                   directed to the
                                                                                                                                                                   Debtors.
